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                            IN THE UNITED STATES DISTRICT COURT
                                      DISTRICT OF UTAH


UNITED STATES OF AMERICA,                         Case No. 2:14-CR-00470 DN

                       Plaintiff,                 MOTION FOR ORDER TO SHOW CAUSE

         vs.                                      Honorable David Nuffer

PHILLIP KAY LYMAN,

                       Defendant.


         Plaintiff United States of America moves this Court for an order requiring Defendant

Phillip Kay Lyman to appear and show cause why he should not be held in civil contempt for

failing to obey the Court’s order of October 21, 2019, which ordered him to produce his tax

returns for the years 2017, 2018, and 2019, to the Court and to the U.S. Attorney’s Office no

later than May 1, 2020. 1




1
    Docket No. 286, Order.


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                                         STATEMENT OF FACTS

          1.     Mr. Lyman was found guilty by a jury of violating 18 U.S.C. § 371, Conspiracy to

Operate Off-Road Vehicles on Public Land Closed to Off-Road Vehicles, and 43 U.S.C. §

1702. 2

          2.     On December 18, 2015, the Court sentenced Mr. Lyman to ten days in the

custody of the Bureau of Prisons followed by three years’ probation. The Court also ordered Mr.

Lyman to pay restitution of $95,955.61 to the Bureau of Land Management.

          3.     Mr. Lyman’s co-defendant, Monte Jerome Wells, was also found guilty at trial of

violating 18 U.S.C. § 371 and 43 U.S.C. § 1702. 3 The Court sentenced Mr. Lyman and Mr.

Wells simultaneously, and ordered Mr. Wells to spend five days in the custody of Bureau of

Prisons followed by three years’ probation. The Court also ordered Mr. Wells to pay restitution

of $48,000.00 to BLM jointly and severally with Mr. Lyman.

          4.     At sentencing, the Court initially ordered Mr. Lyman to pay restitution at the rate

of $500 per month. However, after some discussion of Mr. Wells’s inability to afford restitution

payments of $500 per month, the Court ordered both Mr. Lyman and Mr. Wells to pay restitution

at the minimum rate of $100 per month. 4

          5.     Mr. Lyman has consistently paid $100.00 per month as required by the Court’s

order.



2
    Docket No. 149, Verdict.
3
    Id.
4
    Docket No. 269, Sentencing Transcript, p. 93, ll. 6-10.


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         6.     In 2017, the United States Attorney’s Office Financial Litigation Unit (FLU)

asked Mr. Lyman to agree to pay more than $100.00 per month towards restitution, but he

refused. FLU also sought updated financial information to determine whether Mr. Lyman’s

economic circumstances had changed, but was unable to establish that his circumstances had

improved based upon the information provided.

         7.     In November 2018, Mr. Lyman’s economic circumstances changed when he was

elected to the Utah House of Representatives. Based upon this information, and Mr. Lyman’s

new income source as a Utah State Representative, the United States filed a motion pursuant to

18 U.S.C. § 3664(k) to increase Mr. Lyman’s monthly restitution payments from $100 per month

to $500 per month as initially contemplated by the Court at his sentencing hearing. 5

         8.     Mr. Lyman opposed the United States’ motion arguing that his circumstances had

actually worsened because he gave up a more lucrative position as San Juan County

Commissioner to become a State Representative. He did not provide any additional information

regarding his economic circumstances, however, stating, “Knowing that this information I am

providing can and will be used against me, I will not provide any more information about my

financial situation in this brief.” 6

         9.     The United States conceded that it had overlooked the fact that Mr. Lyman had

given up a source of income as County Commissioner, but argued that “any material change in

the defendant’s economic circumstances allows the Court to adjust the defendant’s payment



5
    Docket No. 279, Motion to Amend Payment Schedule.
6
    Docket No. 280, Response, p. 7.


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schedule to serve the interests of justice.” 7 The United State also argued that Mr. Lyman failed

to meet his burden under 18 U.S.C. § 3664(e) 8 of demonstrating that he had insufficient

financial resources to pay $500 per month towards restitution, because he did not provide any

information regarding his economic circumstances beyond his argument that he no longer

received a salary as County Commissioner. 9

          10.      On October 21, 2019, the Court denied the United States’ motion to increase Mr.

Lyman’s restitution payments, finding “it appears that the Senate Judiciary Committee did not

intend for § 3664(k) to enable increased restitution payments when a criminal defendant has

experienced a negative material change in economic circumstances.” 10 However, the Court also

ordered Mr. Lyman, “in keeping with the notification and adjustment requirements of 18 USC §

3664(k) . . . to provide his returns from tax years 2017, 2018, and 2019 to the Court and the U.S.

Attorney’s Office . . . no later than May 1, 2020.” 11

          11.      Local media outlets, including the St George News, 12 the Salt Lake Tribune, 13


7
     Docket No. 281, Reply, p. 2.
8
     “The burden of demonstrating the financial resources of the defendant and the financial needs
     of the defendant’s dependents, shall be on the defendant.” 18 U.S.C. § 3664(e).
9
     Docket No. 281, p. 5.
10
     Docket No. 286, Order, p. 4.
11
     Id.at p. 5.
12
      https://www.stgeorgeutah.com/news/archive/2019/10/22/apc-judge-blocks-bid-to-increase-
     restitution-payments-for-utah-legislators-part-in-2014-atv-protest#.Xy3F-cZYaUk (“However,
     Nuffer ordered Lyman to provide his 2017, 2018 and 2019 tax returns to the court and the U.S.
     Attorney’s Office no later than May.”)
13
     https://www.sltrib.com/news/2019/10/22/judge-decides-utah-rep/ (“Nuffer ordered Lyman to

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KSL, 14 and Deseret News, 15 thoroughly covered and reported on the Court’s order that Mr.

Lyman produce his tax returns by May 1, 2020.

          12.     May 1, 2020 passed, and Mr. Lyman failed to provide any of his tax returns to the

Court, or to the U.S. Attorney’s Office, as ordered.

          13.     On July 7, 2020, the United States sent an email to Mr. Lyman at

phil@lymancpa.com 16 reminding him of the Court’s order requiring him to provide his tax

returns by May 1, 2020. In its email, the United States acknowledged that the IRS extended the

filing and payment deadline for calendar year 2019 from April 15, 2020 to July 15, 2020, due to

the COVID-19 pandemic, and requested that Mr. Lyman provide his returns to the Court and to

the U.S. Attorney’s Office no later than August 1, 2020. The United States attached a copy of the

Court’s order to the email. 17




     provide his tax returns for 2017 through 2019, for the court to review, with a deadline of May
     1, 2020.”)
14
      https://www.ksl.com/article/46659626/judge-denies-feds-attempt-to-up-utah-lawmakers-
     restitution-payments (“Though U.S. District Judge David Nuffer concluded Lyman’s financial
     circumstances have worsened rather than improved, he ordered him to turn over his 2017, 2018
     and 2019 tax returns to the court and the U.S. Attorney’s Office.”)
15
      https://www.deseret.com/utah/2019/10/21/20925811/judge-denies-feds-attempt-to-up-utah-
     lawmakers-restitution-payments (“Though U.S. District Judge David Nuffer concluded
     Lyman’s financial circumstances have worsened rather than improved, he ordered him to turn
     over his 2017, 2018 and 2019 tax returns to the court and the U.S. Attorney’s Office.”)
16
      The United States has previously received emails from Mr. Lyman from this email address on
     11/28/2017 and 4/16/2018, and it did not receive any error messages upon sending the
     7/7/2020 email. Therefore, the United States believes this is a valid email address for Mr.
     Lyman.
17
     Exhibit A – 7/7/2020 Email to Mr. Lyman.


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          14.     The United States did not receive Mr. Lyman’s tax returns by August 1, 2020, as

requested.

          15.     On August 10, 2020, the United States sent a letter to Mr. Lyman with a draft of

this Motion for Order to Show Cause enclosed. 18 The letter advised Mr. Lyman that:

                  To avoid having to face this proposed filing and potential contempt
                  proceedings, you must produce complete copies of your 2017, 2018,
                  and 2019 tax returns both to this office and to the Court in a manner
                  that they are received no later than Friday, August 21, 2020. 19

The letter was sent to Mr. Lyman by regular first class mail at his last known address, and as an

email attachment to phil@lymancpa.com.

          16.     As of the time of this filing, Mr. Lyman has not replied to any of the foregoing

correspondence, nor has he provided his 2017, 2018, or 2019 tax returns to the Court 20 or to the

U.S. Attorney’s Office.

                                  AUTHORITY AND ARGUMENT

          The Court should compel Mr. Lyman to appear and show cause why he should not be

held in civil contempt until he produces his 2017, 2018, and 2019 tax returns as ordered. “[C]ivil

contempt sanctions, or those penalties designed to compel future compliance with a court order,

are considered to be coercive and avoidable through obedience, and thus may be imposed in an

ordinary civil proceeding upon notice and an opportunity to be heard. Neither a jury trial nor


18
      This motion is a slightly revised version of the draft that the United States sent to Mr. Lyman
     on August 10, 2020.
19
     Exhibit B – 8/10/2020 Letter to Mr. Lyman
20
     On 8/7/2020, and again on 8/24/2020, the United States confirmed with the U.S. District
     Court that Mr. Lyman has not filed his tax returns under seal (or otherwise) as ordered.


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proof beyond a reasonable doubt is required.” Int’l Union, United Mine Workers of Am. v.

Bagwell, 512 U.S. 821, 827 (1994). “To prevail in a civil contempt proceeding, the plaintiff has

the burden of proving, by clear and convincing evidence . . . that a valid court order existed, that

the defendant had knowledge of the order, and that the defendant disobeyed the order.” Reliance

Ins. Co. v. Mast Const. Co., 159 F.3d 1311, 1315 (10th Cir. 1998). Prior to holding a person in

civil contempt, the alleged contemnor “must be given reasonable notice and an opportunity to be

heard.” Fed. Trade Comm’n v. Kuykendall, 371 F.3d 745, 754 (10th Cir. 2004) (stating that the

Tenth Circuit applies “the longstanding rule that in civil contempt proceedings all that is required

to satisfy the Due Process Clause is that defendants be given reasonable notice and an

opportunity to be heard.”). “The contemnor’s disobedience need not be ‘willful’ to constitute

civil contempt. . . . Indeed, a district court is justified in adjudging a person to be in civil

contempt for failure to be reasonably diligent and energetic in attempting to accomplish what

was ordered.” Bad Ass Coffee Co. of Hawaii v. Bad Ass Coffee Ltd. P’ship, 95 F. Supp. 2d 1252,

1256 (D. Utah 2000) (citing Goluba v. School District of Ripon, 45 F.3d 1035, 1037 (7th

Cir.1995)). A district court’s civil contempt authority includes the power to impose a daily fine

or incarceration upon a contemnor until he complies with this Court’s lawful orders. See United

States v. Rue, 819 F.2d 1488, 1495 (8th Cir. 1987) (affirming district court’s imposition of daily

fine of $100, conditioned on respondent’s continued noncompliance with order enforcing IRS

Summons).

        Here, the Court issued a valid order on October 21, 2019, requiring Mr. Lyman to

produce his 2017, 2018, and 2019 tax returns by May 1, 2020. Mr. Lyman has knowledge of the

Court’s order through extensive local media coverage, and through the United States’ email to


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Mr. Lyman of July 7, 2020, to which the order was attached, and its correspondence of August

10, 2020, with a draft of this motion enclosed. Mr. Lyman has not yet obeyed the order by

producing his 2017, 2018, and 2019 tax returns to the Court and to the U.S. Attorney’s Office.

Therefore, the United States respectfully requests that the Court order Mr. Lyman to appear and

show cause for his failure to produce his tax returns. If Mr. Lyman fails to produce his tax

returns before the show cause hearing, and if he fails to show adequate cause at the hearing for

his failure to comply with the Court’s order, then the United States requests that this Court hold

Mr. Lyman in civil contempt, through an appropriate coercive sanction, until Mr. Lyman

produces his 2017, 2018, and 2019 tax returns.

                                         CONCLUSION

       The United States respectfully requests that this Court issue an order compelling Mr.

Lyman to appear and show cause why he should not be held in contempt for failing to comply

with the Court’s order of October 21, 2019. If Mr. Lyman fails to appear, or is unable to provide

an adequate excuse for his failure to comply, this Court should impose an appropriate coercive

sanction until he complies. Finally, it is the United States’ position that Mr. Lyman can purge his

violation of the Court’s order of last October at any time before, during, or after the show cause

hearing by producing his 2017, 2018, and 2019 tax returns.

       DATED this 25th day of August, 2020.

                                              JOHN W. HUBER
                                              United States Attorney

                                              /s/ Allison J.P. Moon
                                              ALLISON J.P. MOON
                                              Assistant United States Attorney



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                                 CERTIFICATE OF SERVICE

       I hereby certify that I am an Assistant United States Attorney for the District of Utah and

that copies of the United States’ MOTION FOR ORDER TO SHOW CAUSE and the exhibit

thereto were served upon the parties by placing a copy of same in the United States mail, postage

prepaid, this 25th day of August, 2020, addressed as follows:

               Mr. Phillip Lyman
               1401 North Blue Mountain Road
               Blanding, UT 84511



                                             /s/ Jeff Nelson
                                             Jeff Nelson, AUSA




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